       Case 3:24-cv-01393-ADC           Document 12       Filed 09/06/24      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 COMMONWEALTH OF PUERTO RICO,
 through its Attorney General,
                                                             Case No. 3:24-cv-01393-ADC
                     Plaintiff,

                        v.

 EXXON MOBIL CORPORATION; BP P.L.C.;
 CHEVRON CORPORATION; CHEVRON
 PHILLIPS CHEMICAL PUERTO RICO
 CORE, LLC; CONOCOPHILLIPS; SHELL
 PLC; STATION MANAGERS OF PUERTO
 RICO, INC.; TOTALENERGIES; and
 TOTALENERGIES MARKETING PR CORP.,

                   Defendants.




                  CORPORATE DISCLOSURE STATEMENT BY
             DEFENDANT STATION MANAGERS OF PUERTO RICO, INC.


       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Local Civil Rule 7.1,

Defendant Station Managers of Puerto Rico, Inc. hereby makes the following disclosures:

       Station Managers of Puerto Rico, Inc. is a wholly owned indirect subsidiary of Shell plc,

a public limited company organized under the laws of England and Wales. No other publicly

held company owns 10 percent or more of the stock of Station Managers of Puerto Rico, Inc.

       This statement is filed solely for purposes of complying with Federal Rule of Civil

Procedure 7.1 and Local Civil Rule 7.1, and in order that the Judges of this Court may determine

the need for recusal. This statement is not intended to operate as an admission of any factual or

legal conclusion and is submitted subject to and without waiver of any defense, affirmative
        Case 3:24-cv-01393-ADC          Document 12        Filed 09/06/24     Page 2 of 2




defense, or objection, including, but in no way limited to, venue, service, and personal

jurisdiction.

DATED: September 6, 2024                      Respectfully submitted,

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